Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 1 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 2 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 3 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 4 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 5 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 6 of 7
Case 3:10-cr-00006-MCR   Document 271   Filed 09/03/10   Page 7 of 7
